       Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 1 of 19 PageID #:1




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION
 JEREMY ADAMS and JERMANY ADAMS,           )
                                           )
       Plaintiffs,                         )
       v.                                  )     No. 18 CV 3193
                                           )
 CITY OF CHICAGO, and CHICAGO POLICE       )
 OFFICERS JOSEPH FOLEY (Star #3711),       )
 SALTIJERAL (Star # 14972), BRADLEY        )
 LODUCA (Star #7678), and SGT. MICHAEL     )
 MIRANDA (#1326),                          )
                                           )
       Defendants.                         )     JURY DEMANDED
                                    COMPLAINT
       NOW COME the Plaintiffs, JEREMY ADAMS and JERMANY ADAMS, by and through

 one of their attorneys, Abby D. Bakos of the Shiller Preyar Law Offices, complaining of

 Defendants, and in support thereof states as follows:

                                          INTRODUCTION

1.   This action is brought pursuant to 42 U.S.C. § 1983 and Illinois law to address deprivations

     of Plaintiffs’ rights under the Constitution of the United States.

                                          JURISDICTION

2.   The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42 U.S.C. § 1983;

     the Judicial Code, 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the United States; and

     pendent jurisdiction for state claims as provided in 42 U.S.C. § 1367(a).

                                               VENUE

3.   Venue is proper pursuant to 28 U.S.C. § 1391(b). The events alleged within all occurred in

     the Northern District of Illinois.

                                             THE PARTIES

4.   Jeremy Adams is a United States citizen who resides in the Northern District of Illinois.


                                                   1
       Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 2 of 19 PageID #:1




5.   Jermany Adams is a United States citizen who resides in the Northern District of Illinois.

6.   Defendant Police Officers Foley (Star #3711), Saltijeral (#14972), Loduca (#7678) and Sgt.

     Miranda (#1326), herein after referred to as "Defendant Officers," are present or former

     employees of the City of Chicago. Defendant Officers engaged in the conduct complained of

     while on duty, in the course and scope of their employment and under color of law. They are

     sued in their individual capacities.

7.   Defendant City of Chicago is a municipal corporation duly incorporated under the laws of the

     State of Illinois, and is the employer and principal of Defendant Officers. At all times

     relevant hereto, Defendant Officers were acting under the color of law and within the scope

     of their employment with Defendant City of Chicago.

                                            BACKGROUND

8.   On August 3, 2017, at around 3:30 pm, at or near 1342 W. 15th Street in Chicago, Illinois,

     Plaintiff Jeremy Adams and his brother, Jermany Adams, were in Jeremy’s vehicle

     attempting to parallel park the vehicle.

9.   Defendants Foley and Loduca pulled up behind Plaintiff’s vehicle in their unmarked squad

     car and activated their emergency lights.

10. Defendants did not witness the driver, Plaintiff Jermany Adams, violate any traffic laws prior

     to curbing the vehicle.

11. Defendants did not have probable cause to stop Plaintiff’s vehicle.

12. Immediately thereafter, Defendants Foley and Loduca exited their unmarked squad car and

     ran up to Plaintiff’s vehicle with their weapons drawn.

13. Defendants Foley and Loduca immediately began pulling on the door handles, however, the

     doors were locked.



                                                  2
       Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 3 of 19 PageID #:1




14. Jermany Adams, the driver, rolled down his window and asked the officers what the problem

     was.

15. Defendant Officers responded by requesting Adams’ driver’s license and insurance.

16. At all times, for their protection, Plaintiffs kept their hands in full view of Defendants and

     prior to reaching for their credentials, asked Defendants for permission to do so.

17. After granting Plaintiffs’ request, Plaintiffs produced an insurance card to Defendant Officers

     who threw the card on the ground.

18. Shortly thereafter, Defendant Saltijeral, in a marked squad car, pulled up to the scene,

     immediately ran up to the driver’s side door and, without any legal justification whatsoever,

     tased Plaintiff Jermany Adams in Jermany’s chest through the window.

19. At the time that Jermany Adams was tased, Plaintiff’s vehicle was off and the keys were

     removed from the ignition.

20. At the time that Jermany Adams was tased, Jermany Adams had not battered, attempted to

     batter, or threatened any police officer.

21. At the time that Jermany Adams was tased, Jeremy Adams had not battered, attempted to

     batter or threatened any police officer.

22. At the time that Jermany Adams was tased, Defendant Officers did not observe any weapons

     in Plaintiff’s vehicle or on any of the vehicle’s occupants.

23. After tasing Jermany, an officer reached in the window, unlocked the driver’s-side door and

     pulled Jermany out of the vehicle.

24. Defendant Foley then pulled Jeremy Adams, who was seated in the back seat, out of the

     vehicle through the same driver’s-side front door.




                                                   3
       Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 4 of 19 PageID #:1




25. Defendant Foley slammed Jeremy Adams to the ground, handcuffed Adams and then tased

     Jeremy Adams.

26. Jeremy Adams was handcuffed behind his back when Defendant Foley tased him.

27. At the time that Jeremy Adams was pulled out of the vehicle, slammed to the ground and

     then tased, Jeremy Adams did not pose a threat to any Defendant.

28. At the time that Jeremy Adams was pulled out of the vehicle, slammed to the ground and

     then tased, Jeremy Adams had not battered, attempted to batter or threatened any Defendant.

29. Without probable cause or any other legal justification, Defendant Officers searched

     Plaintiff’s vehicle causing damage to interior of the vehicle.

30. Without probable cause or any other legal justification, Defendant Officers towed Plaintiff’s

     vehicle.

31. Without probable cause, Defendant Foley arrested and charged Plaintiff Jermany Adams with

     Resisting/Obstructing a peace officer, operating a motor vehicle without insurance, reckless

     conduct and issued two citations to Jermany Adams for failure to stop at a stop sign.

32. Plaintiff’s vehicle was insured at the time of the incident and proof of that was produced

     during the subject incident.

33. Without probable cause, Defendant Foley arrested and charged Jeremy Adams with reckless

     conduct and resisting/obstructing a peace officer.

34. Immediately following their arrests, Plaintiffs were transported to Mt. Sinai Hospital for

     treatment of their injuries.

35. At a bond hearing the following morning, all of Plaintiffs’ criminal charges were dismissed

     by the State’s Attorney in a manner indicative of innocence.




                                                  4
       Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 5 of 19 PageID #:1




36. Upon review of Defendant Saltijeral’s Tactical Response Report, the supervising Lieutenant

     found that Saltijeral’s actions did not conform to the Department’s use of force policy,

     completed an initiation report and forwarded the case to IPRA for further investigation.

37. This matter is currently being investigated by COPA.

38. As a result of Defendants’ actions, Plaintiffs incurred loss of liberty, emotional distress,

     physical pain and suffering and other damages.

                                             CLAIM I
                                42 U.S.C. § 1983 – Excessive Force
                         Against Defendant Officers Foley and Saltijeral
39. Plaintiffs re-allege and incorporate each of the paragraphs of this Complaint as if reinstated

     herein.

40. Under 42 U.S.C. § 1983, a person who, acts under color of state law and deprives another

     person of his federal constitutional rights is liable to the injured party.

41. The actions of Defendant Officers Foley and Saltijeral constituted unreasonable,

     unjustifiable, and excessive force against Plaintiffs thus violating their rights under the

     Fourth Amendment to the United States Constitution and 42 U.S.C. § 1983.

 42. Plaintiffs were injured as a result of Defendant Officers’ conduct.

 43. Defendant Officers inflicted physical violence upon Plaintiffs that was excessive,

     unnecessary, unreasonable, and grossly disproportionate to the need for action under the

     circumstances.

 44. The actions of Defendant Officers were willful, intentional and malicious and/or done with a

     reckless indifference to, and callous disregard for Plaintiffs’ rights.


         WHEREFORE, as a result of Defendant Officers’ unconstitutional actions, Plaintiffs

 request compensatory damages, punitive damages, costs and attorneys’ fees and additional relief

 that this Court deems equitable and just.

                                                    5
      Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 6 of 19 PageID #:1




                                              CLAIM II
                              42 U.S.C. § 1983 – Failure to Intervene
                                  Against All Defendant Officers
45. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

46. Defendant Officers had a reasonable opportunity to prevent one another’s use of

   unreasonable force against Plaintiffs, but failed to do so.

47. As a result of Defendant Officers’ failure to intervene with one another’s use of force,

   Plaintiffs were injured.

48. The misconduct was objectively unreasonable and was undertaken intentionally with malice,

   willfulness and reckless indifference to Plaintiffs’ rights.


   WHEREFORE, Plaintiffs demand judgment against Defendant Officers for compensatory

damages, punitive damages, costs and attorneys’ fees and such other and additional relief that

this Court deems equitable and just.

                                             CLAIM III
                                42 U.S.C. § 1983 – Unlawful Seizure
                          Against Defendant Officers Loduca and Foley
49. Plaintiffs re-alleges and incorporate all of the allegations in the preceding paragraphs.

50. Defendant Officers seized Plaintiffs on August 3, 2017 when they curbed Plaintiffs’ vehicle

   with Plaintiffs inside.

51. Defendant Officers did not have reasonable suspicion to believe that Plaintiffs had

   committed a crime at the time of the seizure.

52. Defendant Officers did not have reasonable suspicion to believe that Plaintiffs were going to

   commit a crime at the time of the seizure.

53. Defendant Officers did not have reasonable suspicion to believe that Plaintiffs were armed or

   dangerous at the time of the seizure.




                                                  6
      Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 7 of 19 PageID #:1




54. Defendant Officers did not have probable cause to seize Plaintiffs when they curbed

    Plaintiffs’ vehicle.

55. Plaintiffs did not commit any crimes before they were seized by Defendant Officers.

56. Such actions constitute deliberate indifference to Plaintiffs’ rights under the United States

    Constitution in violation of the Fourth and Fourteenth Amendments of the United States

    Constitution.

57. As a result of the illegal seizure, Plaintiffs were injured, including loss of liberty, and

    emotional damages.

58. The actions of Defendant Officers were objectively unreasonable and were undertaken

    intentionally with malice, willfulness and reckless indifference to Plaintiffs’ rights.


    WHEREFORE, Plaintiffs demand judgment against Defendant Officers for compensatory

damages, punitive damages, costs and attorneys’ fees and such other and additional relief that

this Court deems equitable and just.

                                             CLAIM IV
                                42 U.S.C. § 1983 – Unlawful Search
                                        For Jeremy Adams
                                    Against Defendant Officers
59. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.

60. As described above, on the date of the subject incident, Defendant Officers invaded

    Plaintiff’s privacy searching his vehicle without probable cause or any other lawful

    justification thus violating Plaintiff’s rights under the Fourth Amendment to the United States

    Constitution and 42 U.S.C. Section 1983.

61. There was no probable cause to arrest this Plaintiff for any crime on August 3, 2017.

62. This Plaintiff lawfully owned the subject vehicle on August 3, 2017.

63. As a result of their unlawful search, Defendant Officers caused damage to Plaintiff’s vehicle.


                                                   7
      Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 8 of 19 PageID #:1




64. The misconduct described herein was undertaken with malice, willfulness and reckless

   indifference to Plaintiff’s rights.

65. As a direct and proximate cause of wrongful actions of Defendants, Plaintiff suffered

   property damage and the loss of use and enjoyment of his property.

       WHEREFORE, Plaintiff demands judgment against all Defendant Officers for

compensatory damages, punitive damages, reasonable attorneys’ fees, costs and expenses, and

such other additional relief that this Court deems equitable and just.

                                          CLAIM V
                       42 U.S.C. § 1983 – Unlawful Seizure/False Arrest
                                      For Jeremy Adams
                                   Against Defendant Foley

66. Plaintiffs re-allege and incorporates all of the allegations in the preceding paragraphs.

67. Defendant Foley seized Plaintiff Jeremy Adams on August 3, 2017 when he arrested Plaintiff

   Jeremy Adams.

68. Defendant Foley did not have reasonable suspicion to believe that Plaintiff Jeremy Adams

   had committed a crime at the time of his arrest.

69. Defendant Foley did not have reasonable suspicion to believe that Plaintiff Jeremy Adams

   was going to commit a crime at the time of the seizure.

70. Defendant Foley did not have reasonable suspicion to believe that Plaintiff Jeremy Adams

   was armed or dangerous at the time of the seizure.

71. Defendant Foley did not have probable cause to seize Plaintiff Jeremy Adams at any time.

72. Plaintiff Jeremy Adams did not commit any crimes before he was seized by Defendant Foley.

73. Such actions constitute deliberate indifference to Plaintiff’s rights under the United States

   Constitution in violation of the Fourth and Fourteenth Amendments of the United States

   Constitution.

                                                  8
      Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 9 of 19 PageID #:1




74. As a result of the illegal seizure, Plaintiff was injured, including loss of liberty and emotional

   damages.

75. The actions of Defendant Foley was objectively unreasonable and was undertaken

   intentionally with malice, willfulness and reckless indifference to Plaintiff’s rights.


   WHEREFORE, Plaintiff demands judgment against Defendant Foley for compensatory

damages, punitive damages, costs and attorneys’ fees and such other and additional relief that

this Court deems equitable and just.

                                             CLAIM VI
                         42 U.S.C. § 1983 – Unlawful Seizure of Property
                                   For Plaintiff Jeremy Adams
                                  Against All Defendant Officers
76. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.

77. By ordering Plaintiff Jeremy Adams’ vehicle towed on the date of Plaintiffs’ arrests,

   Defendant Officers seized Plaintiff’s vehicle without probable cause.

78. The conduct of Defendant Officers acting under the color of law, by seizing Plaintiff’s

   vehicle without probable cause or any other legal justification, constituted an illegal seizure

   in violation of the Fourth and Fourteenth Amendments of the United States Constitution.

79. The misconduct described in this Count was objectively unreasonable and was undertaken

   intentionally with willful and wanton indifference to Plaintiff’s constitutional rights.

80. As a result of Defendants’ conduct, Plaintiff sustained monetary damages and loss of the use

   and enjoyment of his property.


       WHEREFORE, Plaintiff demands judgment against all Defendant Officers for

compensatory damages, punitive damages, costs and attorneys’ fees, and such other and

additional relief that this court deems equitable and just.

                                            CLAIM VII

                                                  9
     Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 10 of 19 PageID #:1




                               State Claim – Malicious Prosecution
                          For Jeremy Adams’ Reckless Conduct Charge
                     Against Defendant Foley and Defendant City of Chicago
81. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

82. Defendant Officer Foley falsely charged Plaintiff Jeremy Adams with reckless conduct on

   August 3, 2017 and continues to maliciously prosecute Plaintiff Jeremy Adams by standing

   by false and incomplete reports and swearing to false charges.

83. Defendant Foley signed Plaintiff Jeremy Adams’ Criminal complaint for reckless conduct.

84. There was no probable cause for the institution of this charge against Plaintiff Jeremy

   Adams.

85. Plaintiff Jeremy Adams was injured including loss of liberty, emotional damages, and pain

   and suffering.

86. Defendant’s conduct was willful and wanton.

87. Plaintiff Jeremy Adams’ reckless conduct charge was dismissed by the State’s Attorney in a

   manner indicative of his innocence.

88. The misconduct was undertaken by Defendant Foley within the scope of his employment and

   under the color of law such that his employer, the City of Chicago, is liable for those actions.

       WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago and

Defendant Foley for compensatory damages, costs, punitive damages, and such other and

additional relief that this Court deems equitable and just.

                                            CLAIM VIII
                               State Claim – Malicious Prosecution
                      For Jeremy Adams’ Resisting a Peace Officer Charge
                     Against Defendant Foley and Defendant City of Chicago
89. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.




                                                 10
       Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 11 of 19 PageID #:1




90. Defendant Officer Foley falsely charged Plaintiff Jeremy Adams with resisting a peace

      officer on August 3, 2017 and continues to maliciously prosecute Plaintiff Jeremy Adams by

      standing by false and incomplete reports and swearing to false charges.

91. Defendant Foley signed Plaintiff Jeremy Adams’ Criminal complaint for resisting a peace

      officer.

92. There was no probable cause for the institution of this charge against Plaintiff Jeremy

      Adams.

93. Plaintiff Jeremy Adams was injured including loss of liberty, emotional damages, pain and

      suffering and legal fees.

94. Defendant’s conduct was willful and wanton.

95. Plaintiff Jeremy Adams’ resisting charge was dismissed by the State’s Attorney in a manner

      indicative of his innocence.

96. The misconduct was undertaken by Defendant Foley within the scope of his employment and

      under the color of law such that his employer, the City of Chicago, is liable for those actions.

          WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago and

Defendant Foley for compensatory damages, costs, punitive damages, and such other and

additional relief that this Court deems equitable and just.

                                               CLAIM IX
                                  State Claim – Malicious Prosecution
                       For Jermany Adams’ Resisting a Peace Officer Charge
                      Against Defendant Foley and Defendant City of Chicago
97.     Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

98.     Defendant Officer Foley falsely charged Plaintiff Jermany Adams with resisting a peace

        officer on August 3, 2017 and continues to maliciously prosecute Plaintiff Jermany Adams

        by standing by false and incomplete reports and swearing to false charges.



                                                   11
      Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 12 of 19 PageID #:1




99.   Defendant Foley signed Plaintiff Jermany Adams’ Criminal complaint for resisting a peace

      officer.

100. There was no probable cause for the institution of this charge against Plaintiff Jermany

      Adams.

101. Plaintiff Jermany Adams was injured including loss of liberty and emotional damages.

102. Defendant’s conduct was willful and wanton.

103. Plaintiff Jermany Adams’ resisting charge was dismissed by the State’s Attorney in a

      manner indicative of his innocence.

104. The misconduct was undertaken by Defendant Foley within the scope of his employment

      and under the color of law such that his employer, the City of Chicago, is liable for those

      actions.

        WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago and

Defendant Foley for compensatory damages, costs, punitive damages, and such other and

additional relief that this Court deems equitable and just.

                                             CLAIM X
                               State Claim – Malicious Prosecution
                        For Jermany Adams’ Reckless Conduct Charge
                   Against Defendant Foley and Defendant City of Chicago
105. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

106. Defendant Officer Foley falsely charged Plaintiff Jermany Adams with reckless conduct

      on August 3, 2017 and continues to maliciously prosecute Plaintiff Jermany Adams by

      standing by false and incomplete reports and swearing to false charges.

107. Defendant Foley signed Plaintiff Jermany Adams’ Criminal complaint for reckless conduct.

108. There was no probable cause for the institution of this charge against Plaintiff Jermany

      Adams.



                                                 12
     Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 13 of 19 PageID #:1




109. Plaintiff Jermany Adams was injured including loss of liberty and emotional damages.

110. Defendant’s conduct was willful and wanton.

111. Plaintiff Jermany Adams’ reckless conduct charge was dismissed by the State’s Attorney in

     a manner indicative of his innocence.

112. The misconduct was undertaken by Defendant Foley within the scope of his employment

     and under the color of law such that his employer, the City of Chicago, is liable for those

     actions.

       WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago and

Defendant Foley for compensatory damages, costs, punitive damages, and such other and

additional relief that this Court deems equitable and just.

                                            CLAIM XI
                               State Claim – Malicious Prosecution
                   For Jermany Adams’ Failure to Have Insurance Charge
                   Against Defendant Foley and Defendant City of Chicago
113. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

114. Defendant Officer Foley falsely charged Plaintiff Jermany Adams with operating a motor

     vehicle without insurance on August 3, 2017 and continues to maliciously prosecute

     Plaintiff Jermany Adams by standing by false and incomplete reports and swearing to false

     charges.

115. There was no probable cause for the institution of this charge against Plaintiff Jermany

     Adams.

116. Plaintiff Jermany Adams was injured including loss of liberty and emotional damages.

117. Defendant’s conduct was willful and wanton.

118. Plaintiff Jermany Adams’ charge was dismissed by the State’s Attorney in a manner

     indicative of his innocence.



                                                 13
     Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 14 of 19 PageID #:1




119. The misconduct was undertaken by Defendant Foley within the scope of his employment

     and under the color of law such that his employer, the City of Chicago, is liable for those

     actions.

       WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago and

Defendant Foley for compensatory damages, costs, punitive damages, and such other and

additional relief that this Court deems equitable and just.

                                           CLAIM XII
                               State Claim – Malicious Prosecution
                         For Jermany Adams’ Failure to Stop Citation
                   Against Defendant Foley and Defendant City of Chicago
120. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

121. Defendant Officer Foley falsely issued two citations to Plaintiff Jermany Adams for failure

     to stop at a stop sign on August 3, 2017, and continues to maliciously prosecute Plaintiff

     Jermany Adams by standing by false and incomplete reports and swearing to false charges.

122. There was no probable cause for the institution of this citation against Plaintiff Jermany

     Adams.

123. Plaintiff Jermany Adams was injured.

124. Defendant’s conduct was willful and wanton.

125. Plaintiff Jermany Adams’ citations were dismissed in a manner indicative of his innocence.

126. The misconduct was undertaken by Defendant Foley within the scope of his employment

     and under the color of law such that his employer, the City of Chicago, is liable for those

     actions.

       WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago and

Defendant Foley for compensatory damages, costs, punitive damages, and such other and

additional relief that this Court deems equitable and just.



                                                 14
     Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 15 of 19 PageID #:1




                                      CLAIM XIII
                                  State Claim-Battery
       Against Defendant City of Chicago, Defendant Foley and Defendant Saltijeral

127. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

128. Without the consent of Plaintiffs, Defendant Officers intentionally, harmfully, and

     offensively touched Plaintiffs when Defendant Foley slammed Plaintiff Jeremy Adams to

     the ground and then tased Jeremy Adams and when Defendant Saltijeral tased Plaintiff

     Jermany Adams.

129. Plaintiffs were injured by this intentional and unauthorized touching.

130. Defendant Officers’ conduct that resulted in these batteries was undertaken with malice,

     willfulness, and reckless indifference to Plaintiffs’ rights.

131. The misconduct undertaken by Defendant Officers was within the scope of their employment

     and under the color of law such that their employer, the City of Chicago, is liable for those

     actions.

   WHEREFORE, Plaintiffs demand judgment against the City of Chicago, Defendant Foley and

Defendant Saltijeral for compensatory damages, punitive damages, costs, medical expenses, and

such other and additional relief as this court deems equitable and just.

                                      CLAIM XIV
                                  State Claim- Assault
       Against Defendant City of Chicago, Defendant Foley and Defendant Saltijeral

132. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

133. Plaintiffs believed that they were in imminent danger of being battered by Defendant

     Officers.

134. Defendant Officers’ conduct that resulted in this assault was undertaken with malice,

     willfulness, and reckless indifference to Plaintiffs’ rights.



                                                 15
     Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 16 of 19 PageID #:1




135. The assaults undertaken by Defendant Officers occurred within the scope of their

     employment and under the color of law such that their employer, the City of Chicago, is

     liable for those actions.

   WHEREFORE, Plaintiffs demand judgment against the City of Chicago, Defendant Foley

and Defendant Saltijeral for compensatory damages, costs, medical expenses, and such other and

additional relief as this court deems equitable and just.

                                           CLAIM XV
                                    State Claim- Conversion
                                   For Plaintiff Jeremy Adams
                                     Against All Defendants

136. Plaintiff re-alleges and incorporates all of the allegations in the preceding paragraphs.
137. Plaintiff owned the seized subject vehicle.

138. The subject vehicle is currently in possession and/or control of the Chicago Police

     Department.

139. Plaintiff had the absolute, unconditional right to immediate possession of his vehicle

     from the time it was seized through today.

140. The Defendant Officers took control of Plaintiff’s property when they had the vehicle

     towed and, by continuing to seize the vehicle, Defendant Officers continue to have control

     over the property.

141. The Defendant Officers seized Plaintiff’s property without permission or lawful

     justification such that the property could not be used by Plaintiff to this day.

142. The Defendants Officers’ conduct was undertaken intentionally and with malice,

     willfulness and reckless indifference to Plaintiff’s rights.

143. The misconduct was undertaken by the Defendant Officers within the scope of their




                                                 16
       Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 17 of 19 PageID #:1




       employment and under the color of law such that their employer, the City of Chicago is

       liable for those actions.

     WHEREFORE, Plaintiff demands judgment against Defendant City of Chicago and

 Defendant Officers for compensatory damages, punitive damages, costs and attorney’s fees, and

 such other and additional relief that this court deems equitable and just.

                                             CLAIM XVI
                     State Claim – Intentional Infliction of Emotional Distress
                    Against Defendant City of Chicago and Defendant Officers
144. Plaintiffs re-allege and incorporate all of the allegations in the preceding paragraphs.

145. The acts and conduct of Defendant Officers set forth above were extreme and outrageous.

146. Said conduct includrs, but is not limited to tasing an Jermany Adams in chest without legal

     justification, slamming to the ground and tasing Jeremy Adams without legal justification,

     standing by and watching as their fellow officers used unreasonable force that is expressly

     prohibited by CPD policy without intervening to stop the conduct, falsely arresting and

     charging Plaintiffs with crimes they did not commit, and providing false reports.

147. Defendant Officers intended to cause, or were in reckless disregard of the probability that

     their conduct would cause, severe emotional distress to Plaintiffs.

148. Said actions and conduct did directly and proximately cause severe emotional distress to

     Plaintiffs and thereby constituted intentional infliction of emotional distress.

149. Defendant Officers’ misconduct was undertaken with malice, willfulness, and reckless

     indifference to the rights of Plaintiffs.

150. As a proximate result of Defendant Officers wrongful acts, Plaintiffs suffered damages,

     including severe emotional distress and anguish.




                                                  17
      Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 18 of 19 PageID #:1




151. All of the misconduct described in this Complaint was undertaken within the scope of

     Defendant Officers’ employment such that the Defendant City of Chicago is liable for the

     torts of its agents.


         WHEREFORE, Plaintiffs demands judgment against the Defendant City of Chicago and

 Defendant Officers for compensatory damages, costs, and such other and additional relief as this

 court deems equitable and just.

                                           CLAIM XVII
                                      Indemnification Claim
                                 Against Defendant City Chicago
 152. Plaintiffs re-allege and incorporate each of the paragraphs of this Complaint as if restated

       herein.

153. A plaintiff may bring an indemnification claim against a municipality or any local public

      entity in section 1983 suit under 745 Ill. Comp. Stat. § 10/9-102.

 154. In committing the acts alleged, Defendant Officers are members and agents of the City of

       Chicago Police Department, and their actions were incident to the service of employment

       with the Defendant City of Chicago.

 155. As a direct and proximate result of Defendant Officer’s unconstitutional actions, Plaintiff

       suffered significant emotional injuries including mental and emotional distress, and

       physical pain and suffering as alleged in this Complaint and is entitled to relief under 42

       U.S.C. § 1983.

156. The misconduct that was undertaken by Defendant Officers was within the scope of their

      employment and under the color of law such that their employer, City of Chicago, is liable

      for those actions.

         WHEREFORE, should any Defendant Officers be found liable on one or more of the

 claims set forth above, Plaintiffs demand, pursuant to 745 ILCS 10/9-102, that Defendant City of

                                                  18
     Case: 1:18-cv-03193 Document #: 1 Filed: 05/04/18 Page 19 of 19 PageID #:1




Chicago be found liable for any compensatory judgment Plaintiffs obtain against said

Defendants, as well as attorneys’ fees and costs awarded, medical expenses and such other and

additional relief that this Court deems equitable and just.


                                              PLAINTIFFS DEMAND TRIAL BY JURY.

                                              Respectfully submitted,

                                              JEREMY ADAMS

                                              JERMANY ADAMS

                                              By One of Their Attorneys:
                                              s/Abby Bakos____
                                              Abby Bakos

                                              Shiller Preyar Law Offices
                                              601 S. California Ave.
                                              Chicago, Illinois 60612
                                              312-226-4590




                                                 19
